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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                 Plaintiff,

vs.                                                                             No. CR 03-1890 JB

MICHAEL HERNANDEZ,

                 Defendant.

                              MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Objections to Presentence

Report, filed December 17, 2004 (Doc. 246). The Court held a sentencing hearing on this matter

December 20, 2004. Based on the reasons stated at the sentencing, and consistent with those

reasons, the Court will amend the PSR to resolve Hernandez’objections.

                                  FACTUAL BACKGROUND

       Court records indicate that Hernandez admitted committing the offense of Possession of

Marijuana Under One Ounce and that the state court found him to be a delinquent child. According

to the Consent Decree filed June 2, 1998: “The Child has freely and voluntarily admitted to or

declared the intention not to contest being a delinquent child in need of care or rehabilitation as

alleged in the Delinquency Petition by committing the following delinquent act: lesser included ct 1:

poss marijuana under 1 oz.” The state court placed Hernandez on supervised probation for a period

of six months.

       The Probation Officer contacted a representative of the Children’s Court Division and learned

the state court had not dismissed the case. The representative stated that the state court adjudicated
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Hernandez delinquent and sentenced him to a six month term of probation. Hernandez, however,

presented to the Court an Order of Dismissal from the Second Judicial District Court, Children’s

Court Division, County of Bernalillo, State of New Mexico, dated December 17, 2004.

                              PROCEDURAL BACKGROUND

       Paragraphs 20 and 21 of the PSR state:

       20.    Pretrial Services records indicate that on February 10, 2004, the defendant
              reported to his Pretrial Services officer that his fiancé called the Albuquerque
              Police Department on February 7, 2004 and filled a report accusing him of
              pushing her. Furthermore, on February 18, 2004, the defendant’s State
              probation Officer, Jack Brodeur, contacted Pretrial Services and advised that
              he had received a copy of a police report regarding a gang related shooting
              which occurred in the early morning hours of January 1, 2004. Mr. Brodeur
              noted the defendant and his fiancé were named in the police report as
              individuals who where present at the party where the shooting occurred (it is
              noted they were not charged with any offense). However, Mr. Brodeur
              indicated the defendant was in violation of his state probation because he was
              associated with gang members and because weapons and drug paraphernalia
              were confiscated from the party (Mr. Brodeur initiated revocation
              proceedings and the defendant was required to serve 48 hours in jail,
              commencing on March 16, 2004). As a result of the aforementioned
              incidents, the defendant was placed back on electronic monitoring on
              February 19, 2004.

       21.    On May 3, 2004, an Information Report/Request to Modify Conditions of
              Release, was submitted to the Court. This report indicated that on April 21,
              2004, the defendant contacted his Pretrial Services officer from University of
              New Mexico Hospital and advised that an unknown individual had taken four
              shots at him, hitting the defendant once in his left arm. Based on his non-
              compliance, his related gang affiliations coupled with the aforementioned
              shooting, Pretrial Services recommended that the defendant be placed at the
              La Pasada Halfway House in Albuquerque, New Mexico. The Court adopted
              the recommendation of Pretrial Services and on May 4, 2004, the defendant
              arrived at the La Pasada Halfway House. As of this writing, he continues to
              reside at La Pasada and he is in compliance with all program rules and
              policies. Furthermore, he has maintained steady employment throughout his
              stay at the halfway house and attends weekly substance abuse counseling
              sessions at The Evolution Group.



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Paragraphs 105, 111, and 115 state:

105.   According to agents, the investigation revealed that at one point, Michael
       Hernandez was Nunez’main runner and “right hand man.” On August 28,
       2002, in Call B648, Hernandez and Nunez had a conversation about Nunez’
       friends. Nunez then asked Hernandez how much “she” gave Hernandez the
       other day. Hernandez said it was 900. The next day, August 29, 2002, in
       Call A 373, Hernandez called and “YoYo” Aguilar answered. Hernandez
       said he was waiting for Nunez and asked if Aguilar knew whether Nunez had
       anything for Hernandez. Aguilar said he would ask Nunez. Then, from Calls
       A384 and B738 later that evening, it appears that Nunez met with
       Hernandez. On September 3, Hernandez called Nunez several times,
       reaching voice mail each time. He finally asked Nunez to call him. The next
       day, September 4, 2002, after several more attempts to reach Nunez,
       Hernandez left another message asking Nunez to call, saying it was already
       Wednesday and he had it all set for yesterday.

                                      ****

111.   Jose Refugio Aguilar and Gerald Marcos Trujillo were identified as Nunez’
       two main runners. Aguilar often carried one of Nunez’ cellular phones and
       he and Nunez were in constant contact about social activities and the drug
       business. Trujillo was also in constant contact with Nunez regarding social
       activities and the drug business. Agents noted both Aguilar and Trujillo
       would deliver cocaine and pick up money, at Nunez’direction. Agents also
       learned both Aguilar and Trujillo had their own crack cocaine businesses on
       the side. Based on the offense conduct, it is determined Jose Refugio Aguilar
       is accountable for 563.1 net grams of cocaine base. This figure includes 357.9
       grams of cocaine base sold on September 23, 2002; and 205.2 grams sold on
       October 1, 2002. During both transactions, it appears Aguilar was assisting
       and working under the direction of Jose Nunez. It is noted Jose Refugio
       Aguilar also engaged in several telephone conversations in which drug
       quantities and transactions were discussed. However, based on the
       information available, additional drug quantities could not be determined.

                                      ****

115.   Michael Hernandez, who was identified as being Nunez’former “right hand
       man,” engaged in several telephone conversations with Nunez regarding drug
       transactions and quantities. The Plea Agreement as to Michael Hernandez,
       stipulates he is accountable for between four and five grams of cocaine base.

Paragraphs 118 and 123 provide:


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118.   The defendant submitted the following written statement to the United States
       Probation Office:

       “I am writing to acknowledge my responsibility for my actions to which I
       recently pled guilty. I had a telephone call with Jose Nunez Cabrera on
       approximately 29, 2002. I called Mr. Nunez Cabrera, but spoke to Refugio
       “YoYo” Aguilar in order to help me to obtain a small quantity of crack
       cocaine which I planned on selling in order to support my drug habit. I was,
       at the time, addicted to heroin and was using this illegal means to obtain funds
       to purchase heroin. I was not part of the organization operated by Jose
       Nunez Cabrera, and was not aware of the manner in which it operated. I knew
       that Mr. Nunez Cabrera was a drug dealer and I went to him to get small
       amounts of crack cocaine. The only activity I engaged in with him was to buy
       crack cocaine to resell to support my drug habit. He did not arrange for
       customers, dictate deliveries, control prices or do anything at all for me or
       with me to assist me in selling these small quantities of crack cocaine to
       support my habit. I have attended classes and participated in programs which
       have assisted me in avoiding drug usage and I am no longer a drug user.”

                                                               /s/ Michael Hernandez

                                       ****

123.   Role Adjustment: The introductory commentary to Part B, Role in the
       Offense, states that “the determination of the defendant’s role in the offense
       is to be made on the basis of all conduct within the scope of Section 1B1.3
       (Relevant Conduct).” The determination of whether to apply a reduction is
       dependent on the facts of the particular case. At this point, there is no
       information to suggest the defendant had an aggravating or mitigating role in
       the instant offense. Agents noted that Hernandez previously worked as
       Nunez’ “main runner” or “right hand man.” However, from the telephone
       conversations the defendant had with Nunez, it appears Hernandez was
       seeking to obtain crack cocaine that he could sell on his own. In his
       acceptance of responsibility statement, the defendant admitted he sought to
       obtain crack cocaine from Nunez so he could sell crack cocaine on his own,
       in order to supply his drug addiction. Hernandez stated, “The only activity I
       engaged in with him was to buy crack cocaine to resell to support my drug
       habit.” The defendant related he was not working under the direction of
       Nunez or anyone else in the conspiracy. Therefore, based on this assessment,
       a role adjustment does not appear warranted. However, in compliance with
       the Plea Agreement, the defendant will be granted a four level reduction for
       being a minimal participant in the underlying conspiracy.



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       Paragraph 128 states:

              Date of     Conviction/                  Date Sentenced/         Guideline
              Referral    Court                        Disposition             Section         Point
       128.   04-28-98     Possession of               06-02-098: 6 month 4A1.1(c)             1
              (Age 16)    Marijuana                    Consent Decree
                          (under 1 once); Second
                           Judicial District Court,
                          Children’s Court
                          Division, Bernalillo
                          County, Albuquerque,
                          New Mexico, Case No.
                          JR 98-1339


              The defendant was represented by counsel. Court records indicate that on
              April 28, 1998, a Petition was filed naming the defendant and charging him
              with possession of a Controlled Substance (Marijuana) With Intent to
              Distribute While Within a Drug-Free School Zone. The Petition alleged that
              on March 2, 1998, the defendant was in a drug-free school zone when he had
              marijuana in his possession and he intended to transfer it to another. Records
              indicate that on June 2, 1998, the defendant admitted to the lesser included
              offense of Possession of Marijuana (under 1 ounce) and the same date, he
              received the above-captioned sentence. No information was available
              regarding the defendant’s adjustment to supervision.

Paragraphs 130, 132, and 133 of the PSR states:

       130.   05-24-99    Possession of                10-20-99:Probation      4A1.1(b)        2
              (Age 17)    Marijuana; Second            for a period not to
                          Judicial District Court,     exceed 2 years
                          Children’s Court             under Intensive
                          Division, Bernalillo         Supervision
                          County, Albuquerque,         program
                          New Mexico, Case No.         12-27-99: Petition
                          JR 99-1074                   to Revoke
                                                       Probation
                                                       01-06-00:
                                                       Defendant admitted
                                                       violation; sentenced
                                                       to 1 year
                                                       commitment

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                                               01-05-01:
                                               Discharged

The defendant was represented by counsel. Court records indicate that on May 24,
1999, a three-count Petition was filed naming the defendant and charging him
Possession of a Controlled Substance (Marijuana) With Intent to Distribute, Evading
an Officer, and Driving the Wrong Way. The Petition alleged that on May 21, 1999,
the defendant was found to be in possession of marijuana and he attempted to evade
police officers.

On October 20, 1999, the defendant admitted committing the lesser included offense
of Possession of Marijuana. The remaining counts of the Petition were dismissed. On
the same date, he was ordered placed on intensive supervised probation for a period
not to exceed two years. On December 27, 1999, a Petition to Revoke Probation was
filed as the defendant committed new offenses on December 22, 1999. According to
the Petition to Revoke Probation, the defendant committed the offenses of Auto
Burglary, Conspiracy to Commit Auto Burglary, Receiving Stolen Property and
Eluding an Officer, all occurring on December 22, 1999. On January 6, 2000, the
defendant admitted he committed the offense of Conspiracy to Commit Auto
Burglary. The remaining counts were dismissed. At that time, the defendant was
ordered committed to the custody of the New Mexico Children, Youth, and Families
Department (CYFD) for a period of one year. Records indicate the defendant was
received at the New Mexico Boys School in Springer, New Mexico on May 10, 2000.
He was then transferred to the Eagles Nest Reintegration Center in Eagles Nest, New
Mexico, on August 16, 2000. The defendant was then discharged from CYFD
custody on January 5, 2001.

                                      ****

132.   03-02-01     Auto Burglary; Second      10-21-02: 18          4A1.1(a)(2)      0
       (Age 18)     Judicial District Court,   months
                    Bernalillo County,         confinement
                    Albuquerque, New           (suspended); 5
                    Mexico, Case No. JR        years probation,
                    CR2001-2932                plus 2 years parole
                                               (if incarcerated at
                                               any time)


The defendant was represented by counsel. Albuquerque Police Department records
indicate that on March 2, 2001, a witness heard a car alarm and when he opened his
curtain, he observed the defendant and another male running from the scene. The car

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owner advised officers that someone had unlocked the passenger door and the center
console lid in her vehicle had been opened. She also advised her purse, with
numerous personal items, had been taken from the vehicle and it appeared that her car
stereo had been tampered with. During post-arrest interviews, both the defendant and
the other subject, denied any involvement in the burglary. A subsequent investigation
revealed that on March 2, 2001, the defendant and another subject had broken into
a total of four vehicles and they took numerous items, including car stereos, CD’s,
speakers, and an amplifier. The defendant was found to have burglary tools, including
pliers and screwdrivers.

Court records indicate that on October 22, 2001, a New Mexico Grand Jury returned
a 9 count Indictment, naming the defendant and charging him with four counts of
Auto Burglary, three counts of Larceny, Possession of Burglary Tools, and
Conspiracy to Commit Auto Burglary. On August 14, 2002, the defendant pleaded
guilty to a single count of Auto Burglary and the remaining counts were dismissed.




133.    03-03-02    Residential Burglary;        10-21-02: 3 years     4A1.1(c)          1
        (Age 19)    Second Judicial District     confinement, 5
                    Court of Bernalillo          years probation,
                    County, Albuquerque,         plus 2 years parole
                    New Mexico, Case No.         (if incarcerated at
                    JR CR2002-833                any time)


The defendant was represented by counsel. Albuquerque Police Department records
indicate that on March 3, 2002, an officer responded to a Holiday Inn Express, in
reference to a burglary call. Officers learned that Charles and Nancy Foote left their
room for the day and when they returned, Mrs. Foote realized that her medication and
a backpack was missing. Officers interviewed one of the housekeepers and learned
that the defendant and another male subject approached her and stated their key was
not working. They told her they were residing in room 352, so she opened the door
for them (this room was registered and being occupied by the Foote’s). Hernandez
and the other subject went into the room and then departed the room a short while
later. During a post-arrest interview, the defendant denied taking the medication or
backpack from the hotel room.

Court records reflect that on March 15, 2002, a New Mexico Grand Jury returned a
three-count Indictment, naming the defendant and charging him with Residential
Burglary, Larceny, and Conspiracy to Commit Residential Burglary. On August 14,
2002, he pleaded No Contest to the charge of Residential Burglary and the remaining
counts were dismissed. On October 21, 2002, the defendant was sentenced to 18

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        months imprisonment, which was suspended, and he was ordered placed [sic] on
        probation for a period of five years. According to a state probation officer, the
        defendant violated his probation in January 2004, by associating with gand members
        and by attending a party where weapons and drug paraphernalia were confiscated.
        The probation officer indicated the defendant has otherwise been compliant. He has
        been drug tested regularly since being placed on probation and has not submitted any
        positive urine specimens.

        Defendant Michael Hernandez objects to certain paragraphs of the modified Pre-Sentence

Report.

                          LAW REGARDING ROLE ADJUSTMENTS

        The commentary concerning minimal participant provides that this adjustment “is intended

to cover defendants who are plainly among the least culpable of those involved in the conduct of a

group. Under this provision, the defendant’s lack of knowledge or understanding of the scope and

structure of the enterprise and of the activities of others is indicative of a role as minimal participant.”

United States Sentencing Guidelines (“U.S.S.G.”) § 3B1.2 Commentary n. 4.

                     LAW REGARDING DIVERSIONARY SENTENCES

        Section 4.A1.2(f) of the U.S.S.G. provides:

        (f) Diversionary Dispositions

        Diversion from the judicial process without a finding of guilt (e.g., deferred
        prosecution) is not counted. A diversionary disposition resulting from a finding or
        admission of guilt, or a plea of nolo contendere, in a judicial proceeding is counted
        as a sentence under § 4A1.1(c) even if a conviction is not formally entered, except
        that diversion from juvenile court is not counted.

                                              ANALYSIS

        1.      Paragraph 21.

        Hernandez objects to paragraph 21, which references his gang affiliations. Hernandez asserts

that he is not a gang member and has not been a gang member. Hernandez contends that the Court


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should remove the reference to Hernandez’gang affiliations.

        The Probation Officer responded to this objection by referring to the location in reports from

whence he derived the information. The Pretrial Officer derived the information in this section from

other reports that Pretrial Services prepared. According to a memorandum entitled “Information

Report/Request Modify Conditions of Release,” dated May 3, 2004, “[t]he defendant’s non-

compliance, his related gang affiliations coupled with the recent incident which involved him being

shot demonstrates a need for more oversight and a more structured environment.” Hernandez’state

probation officer reported that he violated his probation by associating with gang members and by

attending a party where drug paraphernalia and weapons were confiscated.

        Hernandez contends that the reference to “related gang affiliations” in the report may relate

to the occasion when he was shot in the arm by an unknown assailant, who has not yet been

apprehended, in what appears to be a road rage incident. Hernandez also contends that the references

to gang affiliations appear to refer to his brother’s affiliation with Rollerz Only, a car club that an

Albuquerque Police Sergeant considers to be a gang because two or more of its members have been

arrested.

        The Probation Officer derived this information from reports that Pretrial Service prepared.

The Probation Officer justifies the incorporation of this information by stating that it appears relevant

to Hernandez’conduct, but that response does not squarely meet Hernandez’objection. Hernandez

contends that the only information which is relevant is the information in paragraph 20, to which he

did not object through the Probation Office or in Court.

        While the information in paragraph 21 has some relevance, it has limited relevance. At most,

it shows that Hernandez went to a party where gang members were present when he was prohibited


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from associating with gang members. That contraband was confiscated at the party does not have

a direct bearing on Hernandez’conduct because he was not charged with any crime arising out of that

incident. The state probation office’s 48 hour lockup without hearing under its STEPS program is

not an adequate adjudication of any misconduct.

        At the sentencing, both Hernandez and the United States’ agreed to a modification of

paragraph 21's language that resolved Hernandez’ objection to that portion of the PSR. See

Transcript of Sentencing Hearing at 10:5-15 (taken December 20, 2004).1 As agreed upon at the

hearing, the Court modifies paragraph 21 in the PSR, replacing “his related gang affiliations” with “his

association with gang members, coupled with the aforementioned shooting.” Transcript at 10:6-7.2

        2.      Paragraphs 105 and 115.

        Hernandez objects to paragraphs 105 and 115, which note that he was Nunez’main runner

and “right hand man.” Hernandez contends that the information in these paragraphs concerning him

being Nunez’ “main runner and right hand man” is false. Hernandez asserts that a person identified

in the search warrant as CS2 apparently provided this information. Hernandez argues that the United

States was not able to establish this fact, and the assertion in the PSR is false.

        The Probation Office represents that it derived this information from discovery material which

contained reports that investigating agents prepared. The United States Attorney’s Office provided

this information to the Probation Office. Those documents reveal that, during the course of the

investigation, agents learned that, at one point, Hernandez worked as Nunez’main runner and “right


        1
        The Court’s citations to the transcript of the hearing refer to the Court Reporter’s original,
unedited version. Any finalized transcript may contain slightly different page and/or line numbers.
        2
         At the hearing, Hernandez conceded that there was no objection to paragraph 20. See
Transcript at 10:16-18.

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hand man.” Because the Probation Office relied upon materials from the united States, the Probation

Office defers to the United States Attorney’s Office, stating that it is in a better position to respond

to this objection.

        From the surveillance and other evidence that the PSR contains, it appears Nunez’“right hand

man” was Refugio Aguilar, a/k/a “YoYo.” Hernandez contends that he was not a runner for Nunez.

Paragraph 111 identifies the two main runners for the organization. Paragraph 111 does not include

Hernandez.

        The Court directed the United States to produce CS2 for an in camera interview by the Court.

See Order, filed September 28, 2004 (Doc. 218). The United States did not do so, representing that

he is not available. Hernandez requests an evidentiary hearing at which the Court should require

Nunez to be present. Hernandez represents that, pursuant to his plea agreement, Nunez has agreed

to testify. Hernandez asks that the Court require the Probation Office to produce the information

upon which it relied.

        At the sentencing, the United States did not object to the Court’s proposal of omitting the

entire first sentence of paragraph 105. See Transcript at 12:10-13; Presentence Report ¶ 105

(“According to agents, the investigation revealed that at one point, Michael Hernandez was Nunez’

main runner and “right hand man.”). Moreover, the United States represented to the Court that, upon

review of its evidence, the telephone conversation mentioned in the following two sentences of

paragraph 105 did not involve Hernandez. See Transcript at 12:17 - 13:8. Accordingly, the Court

struck the following language as well from paragraph 105: “On August 28, 2002, in Call B648,

Hernandez and Nunez had a conversation about Nunez’friends. Nunez then asked Hernandez how

much ‘she’gave Hernandez the other day. Hernandez said it was 900.” Hernandez did not have


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any objection to this change. See Transcript at 13:13-15.

       In regard to paragraph 115, both parties agreed to removing the language “who was identified

as being Nunez’ former ‘right hand man,’” which took care of Hernandez’ objection to paragraph

115. See id. at 13:16-22.

       3.       Paragraph 123.

       With regard to PSR’s paragraph 123, Hernandez asserts he was a minimal participant in the

offense, as he was not working under Nunez’direction or anyone else’s direction. Again, Hernandez

contends that the notation that he previously worked as Nunez’ “main runner” or “right hand man”

is inaccurate and disputes those comments. Hernandez contends that the minimal role adjustment is

appropriate and that the Court should modify the PSR to so reflect. Hernandez asks the Court to

remove the PSR’s comment that this adjustment is inappropriate. Hernandez is concerned that the

Probation Office’s refusal to remove this comment may cause the Court to decline to accept the

stipulation, which may cause Hernandez to attempt to withdraw from the plea agreement.

       Hernandez contends that he played a minimal role in the conspiracy and, therefore, should

receive a role adjustment under the Sentencing Guidelines. Section 3B1.2(b) provides an offense

level decrease of four points “[i]f the defendant was a minimal participant in [the] criminal activity.”

U.S.S.G. § 3B1.2(b). The United States Sentencing Commission amended § 3B1.2 in 2001 to

include, in relevant part, the following commentary:

       3. Applicability of Adjustment.--

            (A) Substantially Less Culpable than Average Participant. -- This
                section provides a range of adjustments for a defendant who plays a
                part in committing the offense that makes him substantially less
                culpable than the average participant.



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             A defendant who is accountable under 1.3 (Relevant Conduct) only
             for the conduct in which the defendant personally was involved and
             who performs a limited function in concerted criminal activity is not
             precluded from consideration for an adjustment under this guideline.
             For example, a defendant who is convicted of a drug trafficking
             offense, whose role in that offense was limited to transporting or
             storing drugs and who is accountable under 1.3 only for the quantity
             of drugs the defendant personally transported or stored is not
             precluded from consideration for an adjustment under this guideline.

U.S.S.G. § 3B1.2 Commentary n. 3(A). The Sentencing Commission explained:

      Reason for Amendment: This amendment resolves a circuit conflict regarding
      whether a defendant who is accountable under 1.3 (Relevant Conduct) only for
      conduct in which the defendant personally was involved, and who performs a limited
      function in concerted criminal activity, is precluded from consideration for an
      adjustment under § 3B1.2 (Mitigating Role). Compare United States v. Burnett, 66
      F.3d 137 (7th Cir. 1995) (“where a defendant is sentenced only for the amount of
      drugs he handled, he is not entitled to a § 3B1.2 reduction”), with United States v.
      Rodriguez De Varon, 175 F.3d 930 (11th Cir. 1999) (a defendant is not automatically
      precluded from consideration for a mitigating role adjustment in a case in which the
      defendant is held accountable solely for the amount of drugs he personally handled).
      Although this circuit conflict arose in the context of a drug offense, the amendment
      resolves it in a manner that makes the rule applicable to all types of offenses.

      The amendment adopts the approach articulated by the Eleventh Circuit in United
      States v. Rodriguez De Varon . . . that § 3B1.2 does not automatically preclude a
      defendant from being considered for a mitigating role adjustment in a case in which
      the defendant is held accountable under 1.3 solely for the amount of drugs the
      defendant personally handled. In considering a § 3B1.2 adjustment, a court must
      measure the defendant's role against the relevant conduct for which the defendant is
      held accountable at sentencing, whether or not other defendants are charged.

      In contrast to the holding in United States v. Burnett, . . . this amendment allows the
      court to apply traditional analysis on the applicability of a reduction pursuant to §
      3B1.2, even in a case in which a defendant is held liable under 1.3 only for conduct
      (such as drug quantities) in which the defendant was involved personally.

      The substantive impact of this amendment in resolving the circuit conflict is to
      provide, in the context of a drug courier, for example, that the court is not precluded
      from considering a § 3B1.2 adjustment simply because the defendant’s role in the
      offense was limited to transporting or storing drugs, and the defendant was
      accountable under § 1B.3 only for the quantity of drugs the defendant personally


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        transported or stored. The amendment does not require that such a defendant receive
        a reduction under § 3B1.2, or suggest that such a defendant can receive a reduction
        based only on those facts; rather, the amendment provides only that such a defendant
        is not precluded from consideration for such a reduction if the defendant otherwise
        qualifies for the reduction pursuant to the terms of § 3B1.2.

                                                  ****

        . . . For a reduction to apply, the court, at a minimum, must make a factual
        determination that the defendant’s role was significantly less culpable than the average
        participant.

U.S.S.G. Amendment 635 (November 1, 2001).

        As the Court has already found, there is not sufficient evidence, if any, for the Court to

conclude that Hernandez was the major participant’s right hand. Rather, the telephone calls outlined

in the PSR reflect that Hernandez’role was as he has described it, and that he was not knowledgeable

about the enterprise’s scope and structure or of others’ activities in the enterprise. The evidence

before the Court indicates that Hernandez knew only that, as he explains in his acceptance of

responsibility, he was making purchases of very small quantities to sell to support his habit. The

Court, based on its observations of Hernandez’conduct compared to that of others involved in the

conspiracy, finds that Hernandez is a substantially less culpable than average participant and is entitled

to a role adjustment under § 3B1.2(b). See Transcript at 19:15-22.

        This finding is not undercut by the fact that Hernandez only plead guilty to “four (4) grams

but less than five (5) grams” of cocaine base. Plea Agreement ¶ 8(d), at 6 (entered into September

20, 2004). As the commentary to -- and the reason for amending -- § 3B1.2 clarify, the role

adjustment for being a minimal participant in the conspiracy is available to Hernandez even though

he only pled guilty to the amount of drugs in which he was personally involved. The Court, having

made the factual determination that Hernandez is a minimal participant, will therefore accept the


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stipulation in the plea agreement and apply a role adjustment under § 3B1.2. See Plea Agreement

¶ 7(b), at 5; Transcript at 19:23 - 20:1.

       Accordingly, the Court will strike the third, fourth, and ninth sentence. See Presentence

Report ¶ 123 (“At this point, there is no information to suggest the defendant had an aggravating or

mitigating role in the instant offense. Agents noted that Hernandez previously worked as Nunez’

‘main runner’or ‘right hand man.’. . . Therefore, based on this assessment, a role adjustment does

not appear warranted.”). This amendment resolves Hernandez’objection to paragraph 123, and the

United States had no objection to this alteration of the PSR. See Transcript at 19:25 - 20:10.

       4.      Paragraph 128.

       Hernandez asserts that he should not receive a criminal history point for the conviction in

paragraph 128, because he received a Consent Decree, which New Mexico law does not consider a

juvenile adjudication. See NMSA 1978 § 31-18-15.2B(2)(“[S]uccessful completion of consent

decrees is not considered a prior adjudication for purposes of this paragraph.”). The judgment was

a six-month consent decree. Hernandez’alleges that the six-month consent decree does not qualify

as a sentence in § 4A1.1(c). Hernandez contends that the consent decree is a diversionary disposition

and that, under § 4A1.2(f) as a juvenile court diversion, the federal guidelines do not count it. There

was no finding of guilt, and the entry into this consent decree does not operate as an adjudication

under state law. Hernandez argues that the federal law should give due deference to the state

determination that it is not an adjudication.

       In the PSR, the Probation Office relies upon the state court’s finding or Hernandez’admission

of guilt, but does not base its conclusion on a review of the proceedings. At the sentencing hearing,

however, Hernandez presented the Order of Dismissal, which was filed by the state court on


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December 17, 2004. In light of the Order of Dismissal, the Court concludes that Possession of

Marijuana offense in paragraph 28 is a diversionary disposition that does not warrant the one-point

increase in the criminal history category. See Transcript at 20:12-22; U.S.S.G. §§ 4A1.1(c),

4A1.2(f). The United States does not object to this finding. See id. at 20:23 - 21:1.

       Accordingly, the Court modified the First Addendum to the Presentence Report, page two,

in the Response to Objection #4 by omitting the following language: “The probation office maintains

that one criminal history point was appropriately applied to the adjudication in paragraph 128 of the

presentence report. . . . There is no indication that the Petition was ever dismissed in this case. The

probation officer contacted a representative of the Children’s Court Division and learned this case

was never dismissed.” The Court added the following language at the end of the same paragraph:

“An Order of Dismissal with prejudice without a finding of guilt was entered on December 17, 2004.”

The Court also omitted the language in the next paragraph, “Defense counsel asserts” and “and thus

the adjudication was not withheld. Based on this assessment, the probation office maintains its

position as it appears in the presentence report.” In light of this change to the addendum, Hernandez

withdrew its objection to paragraphs 130, 132 and 133. See Transcript at 22:13-21.3

       IT IS ORDERED that the abovementioned changes to the PSR in response to the

Defendant’s objections are sustained. With 8 total criminal history points, his sentence will be

consistent with a Criminal History of IV.



       3
         In regard to Hernandez’other objections, the Court satisfied those at the hearing by moving
the charge listed in paragraph 136, page 37, of the PSR under “Other Arrests” to page 38 under
“Other Criminal Conduct.” Moreover, at the hearing, Hernandez clarified that his objection to
paragraph 169 was actually an objection to the criminal history point calculation contained in
paragraph 135. The Court made the appropriate adjustment to the criminal history points, from 9
points to 8 points, resulting in the same criminal history category of IV.

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                                                   ____________________________________
                                                   UNITED STATES DISTRICT JUDGE




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